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13

14                                 UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16   ELIZABETH KEENLEY,                                       ) CASE NO. 22-cv-00388- JD
                                                              )
17                                  Plaintiff,                ) JOINT NOTICE OF
                                                              ) SETTLEMENT
18          vs.                                               )
                                                              )
19   AETNA LIFE INSURANCE COMPANY,                            )
20                                  Defendant.                )

21

22          TO THE COURT, EACH PARTY AND THE ATTORNEY OF RECORD FOR

23   EACH PARTY HEREIN:

24          Plaintiff Elizabeth Keenley and Defendant Aetna Life Insurance Company (collectively

25   the “Parties”) have reached a settlement in the above-captioned matter. The Parties anticipate

26   that the settlement will be fully documented within the next 30 - 45 days. Once that occurs, the

27   Parties will file a stipulation for dismissal of the lawsuit with prejudice, each party to bear its

28   own fees and costs.
                                                       -1-
                                        JOINT NOTICE OF SETTLEMENT
                                                                                  CASE NO. 22-cv-00388- JD
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 1          The parties request that the Initial Case Management Conference set for June 2, 2022 and

 2   any other dates be vacated pending dismissal of the case.

 3

 4
     Dated: May 16, 2022                           BOLT KEENLEY KIM LLP
 5
                                                   By:    /s/ James P. Keenley
 6                                                        James P. Keenley
 7                                                        Attorney for Plaintiff
                                                          ELIZABETH KEENLEY
 8

 9
     Dated: May 16, 2022                           GORDON REES SCULLY MANSUKHANI, LLP
10

11                                                 By:    /s/ Matthew G. Kleiner
                                                          Matthew G. Kleiner
12                                                        Attorney for Defendant
                                                          AETNA LIFE INSURANCE COMPANY
13

14   Filer’s Attestation: Pursuant to Local Rule 5-1 (h)(3) regarding signatures, Matthew G. Kleiner
     hereby attests that all other signatories listed concur in the content of this document and have
15   authorized its filing.
16                                                        /s/ Matthew G. Kleiner
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                                      JOINT NOTICE OF SETTLEMENT
                                                                             CASE NO. 22-cv-00388- JD
                                              Case 3:22-cv-00388-JD Document 13 Filed 05/16/22 Page 3 of 3



                                       1                                   CERTIFICATE OF SERVICE

                                       2          I am a resident of the State of California, over the age of eighteen years, and not a party

                                       3   to the within action. My business address is: Gordon Rees Scully Mansukhani, LLP 101 W.

                                       4   Broadway, Suite 2000, San Diego, CA 92101. On May 16, 2022, I served the foregoing

                                       5   document(s):

                                       6   JOINT NOTICE OF SETTLEMENT
                                       7          by electronic service through the CM/ECF System which automatically generates of

                                       8   Notice of Electronic Filing (“NEF”) and is sent by e-mail to all CM/ECF Users who have

                                       9   appeared in the case in this Court. Service with this NEF will constitute service pursuant to

                                      10   Federal Rules of Civil Procedure.

                                      11          I declare under penalty of perjury under the laws of the United States of America that the
Gordon Rees Scully Mansukhani, LLP
  633 West Fifth Street, 52nd floor




                                      12   above is true and correct.
      Los Angeles, CA 90071




                                      13
                                           Dated: May 16, 2022                          ___________________________________
                                      14                                                Janey Swanson
                                      15

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                                                                            JOINT NOTICE OF SETTLEMENT
